Case 3:19-cv-00917-M-BT Document 39 Filed 04/22/22   Page 1 of 6 PageID 489
Case 3:19-cv-00917-M-BT Document 39 Filed 04/22/22   Page 2 of 6 PageID 490
Case 3:19-cv-00917-M-BT Document 39 Filed 04/22/22   Page 3 of 6 PageID 491
Case 3:19-cv-00917-M-BT Document 39 Filed 04/22/22   Page 4 of 6 PageID 492
Case 3:19-cv-00917-M-BT Document 39 Filed 04/22/22   Page 5 of 6 PageID 493
Case 3:19-cv-00917-M-BT Document 39 Filed 04/22/22   Page 6 of 6 PageID 494
